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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA                      2019.TO          AH 10:1^2
                                  SAVANNAH DIVISION

                                                                                e-0
                                                                                  U..; -vAl r r r-n

UNITED STATES OF AMERICA,

       Plaintiff,

V.                                                       Criminal Action No: 4:19CR66


STEVEN CRONK,

       Defendant.




                                         ORDER


       This matter is before the Court on the Motion for Leave of Absence by Jack Morris

Downie,counsel for Defendant, for the dates of July 25,2019 through July 29, 2019. (Doc.

242.) After careful consideration, said Motion is GRANTED.


       SO ORDERED,this            lay of June, 2019.



                                                  CHRISTOPHER L. RAY
                                                  MAGISTRATE JUDGE
                                                  SOUTHERN DISTRICT OF GEORGIA
